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 1                              UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                            Case No.: 2:17-cr-00306-JCM-PAL
 5                           Plaintiff,                                 ORDER
 6   v.                                                             (Docket No. 389)
 7   FREDERICK THOMAS,
 8                          Defendant.
 9          Pending before the Court is Defendant Frederick Thomas’ motion for self-surrender.
10 Docket No. 389. Defendant asks the Court to release him on his own recognizance so that he may
11 travel to Montgomery Federal Prison Camp and self-surrender to the BOP. Id. at 2-3.
12          The Court has already released Defendant on the instant case, with conditions. See Docket
13 No. 383. Defendant remains, however, in BOP custody on a sentence imposed on him in an
14 entirely different case. Docket No. 874, case 2:12-cr-00004-APG-GWF. This Court has no
15 authority to modify the sentence in that case.
16          Accordingly, Defendant’s motion for self-surrender, Docket No. 389, is hereby DENIED.
17          IT IS SO ORDERED.
18          DATED: April 24, 2018.
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21                                                  NANCY J. KOPPE
                                                    UNITED STATES MAGISTRATE JUDGE
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